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                 Case 4:25-cv-02576-KAW Document 5 Filed 03/17/25                                  Page 1 of    2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                Northern District of California


    People Center, Inc. d/bla Rippling, a Delaware
                     corporation,


                           Plaintiff(s)
                                v.                                         Civil Action No. 3:25-cv-02576-KAW
         Deel, Inc., a Delaware corporation, and
                       Does 1-100,


                          Defendant(s)


                                                 SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) Deel, Inc.
                        j          do VCorp Services, LLC (Registered Agent)
                                   108 W. 13th Street, Suite 100
                                   Wilmington, DE 19801




         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) -- -of 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed.R.Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                      Kathleen S. Messinger
                                      QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                      865 S Figueroa St., 10th Floor
                                      Los Angeles, CA 90017

       If you fail to respond, judgment by default will be entered against youfor the relief demanded in the complaint.
You also must file your answer or motion with the conit.



                                                                             CLERK OF COURT
                                                                             Mark B.Bitsby

Date:     17 March 2025                                                                      M. Buensuceso-Cuenco
                                                                                       Signatureof Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
 Civil Action No.
                        4:25-CV-02576-KAW

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

       This summons for (name ofindividual andlink, ifany)             DEEL, INC.
was received by me on (date) 03/17/2025

          El I personally served the summons on the individual at (place)
                                                                                     on (date)                          , or

               I left the summons at the individual's residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual's last known address; or
                                                                      VCORP SERVICES, LLC, AS REGISTERED AGENT, ACCEPTED BY
                                                                      ROBIN HUTT-BANKS (MANAGING AGENT EMPLOYED AT
              I served the summons on (name of individual)            REGISTERED AGENT)                                        5 who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                              DEEL, INC.
          108 WEST 13TH STREET, STE 100, WILMINGTON, DE 19801             on (date) 03/17/2025 AT 2:45 PM

          In I returned the summons unexecuted because                                                                             5 or

          El Other (specify):



           My fees are $                           for travel and $                    for services, for a total of $

           I declare under penalty of perjury that this information is true.


 Date:    03/17/2025
                                                                                            Server's signature

                                                               GILBERT DEL VALLE                    PROCESS SERVER
                                                                                          Printed name and title


                                                               BRANDYWINE PROCESS SERVERS, LTD., PO BOX 1360,
                                                               WILMINGTON, DE 19899
                                                                                   Server's address
Additional information regarding attempted service, etc:




SERVED SUMMONS IN A CIVIL ACTION; COMPLAINT; CIVIL COVER SHEET; PLAINTIFF'S CERTIFICATE OF
CONFLICTS AND INTERESTED ENTITIES OR PERSONS; STANDING ORDER FOR MAGISTRATE JUDGE KANDIS A.
WESTMORE; NOTICE RE: REMOTE APPEARANCE PROCEDURES FOR MAGISTRATE JUDGE KANDIS A.
WESTMORE; SETTLEMENT CONFERENCE STANDING ORDER FOR MAGISTRATE JUDGE KANDIS A. WESTMORE;
STANDING ORDER FOR ALL JUDGES OF THE NORTHERN DISTRICT OF CALIFORNIA;
